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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CAPTAIN DANIEL KNICK                                  :
                    Plaintiff                         :       Case No.: 22-cv-1267 BAH
v.                                                    :
                                                      :
LLOYD J. AUSTIN, III, in his                          :
official capacity as Secretary of Defense             :
1000 Defense Pentagon                                 :
Washington, D.C. 20301-1000                           :
                                                      :
FRANK KENDALL, III, in his                            :
official capacity as Secretary of the Air Force       :
1000 Defense Pentagon                                 :
Washington, D.C. 20301-1000                           :
                                                      :
ROBERT I. MILLER, in his                              :
official capacity as Surgeon General                  :
of the Air Force                                      :
1000 Defense Pentagon                                 :
Washington, D.C. 20301-1000                           :
                                                      :
RUDOLF WILHELM KUEHNE, JR.                            :
in his official capacity as Commander,                :
Air Force Flight Standards Agency                     :
1000 Defense Pentagon                                 :
Washington, D.C. 20301-1000                           :
                                                      :
                              Defendants              :


                                            COMPLAINT

                                          THE PARTIES

       1. The Plaintiff, Captain Daniel Knick (hereinafter “Plaintiff Officer”), is an active-duty

Officer in the United States Air Force.

       2. Defendant Lloyd J. Austin, III, is the Secretary of the United States Department of

Defense. Secretary Austin is sued in his official capacity.

       3. Defendant Frank Kendall, III, is the Secretary of the United States Air Force.


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Secretary Kendall is sued in his official capacity.

       4. Defendant Robert I. Miller is the Surgeon General of the United States Air Force.

Surgeon General Miller is sued in his official capacity.

       5. Defendant Rudolf Wilhelm Kuehne is the Commander of the United States Air Force,

Air Force Flight Standards Agency, and plaintiff officer’s commanding officer. Rudolf Wilhelm

Kuehne is sued in his official capacity.

                                 JURISDICTION AND VENUE

       6. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

this action arises under the United States Constitution and federal law.

       7. The Court also has jurisdiction under 28 U.S.C. § 1346 because this is a civil

action against the United States.

       8. The Court also has jurisdiction under 28 U.S.C. § 1361 to compel an officer or

employee of the United States or any agency thereof to perform a duty owed to the Plaintiff.

       9. The Court also has jurisdiction pursuant to 42 U.S.C. § 2000bb-1(c) because

Plaintiff’s religious exercise and that of other service members have been burdened by

Defendants.

       11. The Court also has jurisdiction to review and enjoin ultra vires or unconstitutional

agency action through an equitable cause of action.

       12. This Court has authority to award the requested relief pursuant to 42 U.S.C. §

2000bb-1; the requested declaratory relief pursuant to 28 U.S.C. §§ 2201-02; the requested

injunctive relief pursuant to 5 U.S.C. § 702 and 28 U.S.C. § 2202; and costs and attorneys’ fees

pursuant to 42 U.S.C. § 1988(b) and 28 U.S.C. § 2412.

       13. Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because



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Defendants are officers and employees of the United States, and the military workplace and the

defendants have a place of business advertised as 1690 Air Force Pentagon, Washington, DC

20330–1670.

                                  FACTUAL BACKGROUND

       14. Defendant Secretary of Defense, Lloyd Austin on August 24, 2021, issued a mandate

for all service members of the Armed Forces under Department of Defense authority on active

duty or in the Ready Reserve to receive a COVID-19 vaccine (“DoD Military Mandate”).

       15. The DoD Military Mandate states, inter alia, that “Military Departments should use

existing policies and procedures to manage mandatory vaccination of Service members to the

extent practicable.”

       16. At the time of issuance of the DoD Military Mandate, Air Force Instruction (AFI)

48-110, Immunizations and Chemoprophylaxis for the Prevention of Infectious Disease, dated

February 16, 2018, was an existing policy and procedure of the Air Force and remains a policy

and procedure of the Air Force. AF 48-110 is mandatory.

       17. AFI 48-110 states in part: “General examples of medical exemptions include the

following… (b) Evidence of immunity based on serologic tests, documented infection, or similar

circumstances.” However, the DoD Military Mandate further states in part, “Those with previous

COVID-19 infection are not considered fully vaccinated.” The DoD Military Mandate further

states in part, “Service members who are actively participating in COVID-19 clinical trials are

exempted from mandatory vaccination against COVID-19 until the trial is complete in order to

avoid invalidating such clinical trial results.” Thereby creating a class of unvaccinated active-

duty service members. Service members with approved medical accommodations and clinical-

trial participants are permitted to work in person (assumedly so long as they engage in mitigation



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steps such as taking COVID-19 tests, test negative, wear a mask, hand washing and socially

distancing).

       18. On September 3, 2021, defendant Secretary Kendall issued a mandate for all active

duty service members of the Air Force, “unless exempted,” to be fully vaccinated by November

2, 2021, and for all Reserve service members, “unless exempted,” to be fully vaccinated by

December 2, 2021 (“Air Force Military Mandate”).

       19. On March 31, 2022, the U.S. District Court for the Southern District of Ohio

(Western Division – Cincinnati) granted a preliminary injunction to plaintiff service members of

the Air Force enjoining and restraining the Air Force from taking disciplinary or separation

measures against the service member plaintiff’s their refusal to get vaccinated due to their

sincerely held religious beliefs.

       20. On March 29, 2022, the U.S, District Court in Texas granted class action status to

service members in the U.S. Navy who requested religious exemptions to the vaccine mandate,

thereby applying the court’s preliminary injunction to all Navy service members who applied for

a religious exemption to the vaccine mandate.

       21. The United States Department of Health and Human Services (HHS), cited as

authority in Executive Order 14043, and the Centers for Medicare & Medicaid Services (CMS)

issued a COVID-19 regulation recognizing that the vaccinated and those who “have recovered

from infection… are no longer sources of future infections.” 86 Fed. Reg. at 61,604.

Nonetheless, the Air Force Military Mandate states in part, “Individuals with previous

COVID-19 infection or positive serology are not considered vaccinated and are not exempt.”

       22. On August 31, 2021, Plaintiff Officer submitted a request for a religious exemption to

the vaccine mandate promulgated by defendant Secretary Kendall. Prior to this date, on June 1,



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2020, Plaintiff Officer had submitted a request for a religious exemption to the Air Force

vaccine/immunization requirements. The Air Force allowed Plaintiff Officer to remain

unvaccinated/immunized and did not act on this request.

       23. On September 7, 2021, defendant Rudolf Wilhelm Kuehne acknowledged receipt of

Plaintiff Officer’s request for a religious based exemption to required immunizations.

       24. On October 19, 2021, defendant Rudolf Wilhelm Kuehne issued a Decision

Regarding Religious Accommodation Request, denying the request of Plaintiff Officer. In the

denial, defendant Rudolf Wilhelm Kuehne stated “While your request appears to be a sincerely

held religious belief, I have to balance that with the compelling government interest in

preventing a real adverse impact to military readiness and maintaining the health and safety of

our unit's civilian and military members. According to the CDC and military health officials

vaccinations are the least restrictive means to prevent the spread of certain communicable

diseases.” “As the Commander of a Field Operating Agency, DAFI 52-201 para 6.6.1 grants me

the authority to approve or deny requests for a religious exemption to immunization

requirements. Under this authority, I have decided to DENY your request for religious

exemption to all Air Force directed immunizations.”

       25. On October 29, 2021, defendant Rudolf Wilhelm Kuehne sent an email to Plaintiff

Officer and others confirming “All, we have received a few questions on this. Here is my advice,

if you are dead set against getting this vaccine then this is your time to apply for a free and clear

separation.” Rather than abandon his sincere held religious beliefs, Plaintiff Officer followed the

advice of the commanding officer and submitted a request for a free and clear separation dated

October 26, 2021. On February 14, 2022, the defendant Frank Kendall III denied Plaintiff

officer’s request for a separation from the Air Force due to the “board determined the



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justification submitted by the applicant did not demonstrate it was in the best interest of the Air

Force to separate early given his lengthy service commitment and acute need for officers in his

career field.”

        26. On December 2, 2021, defendant Robert I. Miller issued a Decision on Religious

Accommodation Appeal, denying Plaintiff Officer’s appeal of the command denial of his request

for a religious accommodation exemption/waiver to vaccines/immunizations, asserting “Your

health status as a non-immunized individual in this dynamic environment, and aggregated with

other nonimmunized individuals in steady state operations, would place health and safety, unit

cohesion, and readiness at risk. Foregoing the above immunization requirements would have a

real adverse impact on military readiness and public health and safety. There are no less

restrictive means available in your circumstance as effective as receiving the above

immunizations in furthering these compelling government interests.”

        27. On February 15, 2022, defendant Rudolf Wilhelm Kuehne issued an Order to Receive

Mandatory COVID-19 Vaccine to Plaintiff Officer, requiring compliance by February 20, 2022.

Adhering to sincerely held religious beliefs, Plaintiff Officer did not comply.

        28. On March 14, 2022, defendant Rudolf Wilhelm Kuehne issued a Letter of

Reprimand, stating, inter alia, “Your continued unvaccinated state increases the

risk of serious illness both to you and to those around you. The Core Value of Service Before

Self requires that you put the mission first and its requirements ahead of your own. Your

failure to comply with DoD vaccination requirements, as well as the directive from the

Secretary of the Air Force, demonstrates that you have placed your own interests above the

mission. I expect you to immediately comply with all vaccination directives and meet the

standards required of you. Further refusal to obey DoD and Air Force vaccination



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requirements will not be tolerated, and may result in more severe action being taken against

you.” In addition, Plaintiff Officer had already been selected for promotion. In the Letter of

Reprimand, defendant Rudolf Wilhelm Kuehne stated “If this LOR is sustained, it will be placed

in an Unfavorable Information File (UIF) and will be referred for inclusion in your Officer

Selection Record (OSR).” On April 7, 2022, defendant Rudolf Wilhelm Kuehne unlawfully

retaliated against Plaintiff Officer for asserting his rights under the RFRA and First Amendment

by removing Plaintiff Officer from the promotion list.

       29. Prior to the issuance of the Letter of Reprimand, Plaintiff Officer served honorably

for ten years and was selected for promotion and has been awarded numerous medals and

awards.

       30. Plaintiff Officer maintains COVID-19 mitigation measures, including social

distancing, masking, regular body temperature self-checks and hand washing. Defendants have

made np effort to test Plaintiff Officer to determine if he had ever contracted COVID-19 and/or

has antibody and/or natural immunity.

       31. Plaintiff Officer is a Christian with sincerely held beliefs that prohibit use of

vaccines/immunizations. As early as June 2020, prior to the mandates at issue, Plaintiff Officer

requested a religious accommodation to be exempt from vaccines/immunizations.

       32. Plaintiff Officer sincerely believes that receiving a vaccine that was derived from or

tested on aborted fetal tissue in its development would violate their conscience and is contrary to

their faith. All COVID-19 vaccines currently available were derived from or tested on

(as part of their development) aborted fetal tissue. For this reason, Plaintiff Officer is faith bound

to not to receive one of the COVID-19 vaccines currently available. In accordance with Plaintiff




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Officer’s faith, one’s “body is the temple of the Holy Spirit” (1 Cor. 6:19-20), and that injection

with a novel substance of unknown long-term effects would violate this belief.

       33. Plaintiff Officer wants to continue military service in the Air Force, as has been done

in the past ten years, and is perfectly willing to engage in such precautionary measures that are

required of service members who are granted medical accommodations to the vaccine mandates,

including clinical trial participants who are not required to take the vaccine. Of course,

notwithstanding the category, all three groups are unvaccinated and pose the same risk metric as

defined by the Air Force.

       34. Plaintiff Officer faces the possibility of an Article 92 court martial under the Uniform

Code of Military Justice (“UCMJ”) for failure to follow a lawful order, separation from the Air

Force with a character of discharge less than Honorable, loss of benefits, future ability to hold a

security clearance affecting his career and earning ability. Under the UCMJ, the maximum

punishment for a violation or failure to obey lawful general order or regulation is dishonorable

discharge, forfeiture of all pay and allowances, and confinement for two years. Such a conviction

is a federal criminal conviction. Ironically, given the lack of due process in determining religious

accommodations by the Air Force, the order that would be the subject of the Article 92 would be

in fact unlawful.

                                       COUNT ONE
       Violation of the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb et seq

       35. Plaintiff Officer incorporates herein by reference the assertions set forth in all

paragraphs of this Complaint.

       36. The Religious Freedom Restoration Act (“RFRA”) states that the government shall

not substantially burden a person’s exercise of religion even by means of a rule of general

applicability. 42 U.S.C. § 2000bb-1.

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       37. RFRA protects any exercise of religion, whether or not compelled by, or central

to, a system of religious belief. 42 U.S.C. § 2000bb2(4) (citing 42 U.S.C. § 2000cc-5(7)(A)).

       38. The exercise of religion involves not only belief and profession but the

performance of (or abstention from) physical acts that are engaged in for religious reasons.

       39. The Mandates explicitly acknowledge that RFRA protects Department of Defense

and Air Force service members.

       40. Plaintiff Officer sincerely believes that the exercise of their religion/faith, and

religious beliefs prevents submitting to injection of any of the available COVID-19 vaccines.

       41. Defendants acknowledge the sincerity and reasonableness of Plaintiff Officer’s belief

that the exercise of religion prevents receipt of a vaccination into his body.

       42. Over 4,000 Air Force service members share Plaintiff’s religious

objection to being vaccinated for COVID-19 and have pursued religious exemptions.

       43. The government and reviewing courts may not question whether sincerely held

religious beliefs are reasonable.

       44. The RFRA imposes strict scrutiny on all actions of the federal government that

substantially burden a person’s exercise of religion. 42 U.S.C. § 200bb-1(b).

       45. A person’s exercise of religion is substantially burdened whenever a measure

imposes substantial pressure on an adherent to modify their behavior and to violate their beliefs.

       46. The Mandates impose on Plaintiff Officer and all service members, whose exercise of

their sincerely held religious beliefs and faith prevents vaccination for COVID-19, the choice of

either violating their religious beliefs and ending their career and livelihood. This includes

exposure to court martial, discharge from the Air Force and lifelong punitive measures upon

conviction.



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        47. Forcing the Plaintiff Officer to violate their religious beliefs or suffer consequences

under the UCMJ is a substantial burden on Plaintiff Officer’s exercise of their religious belief.

The consequences will have a permanent adverse effect on the career and life of the Plaintiff

Officer, including but not limited to his ability to provide for his family.

        48. Defendants have crafted a mechanism whereby the consequential adverse impacts of

declining to get the vaccine, currently being imposed en masse to service members in the Air

Force who have sought religious accommodations, impose substantial pressure on each religious

objector, such as the Plaintiff Officer, to get the vaccine and modify their behavior in violation of

their sincerely held religious beliefs.

        49. The Mandates are subject to strict scrutiny under RFRA because they impose the

aforestated substantial burdens on the religious exercise of service members. 42 U.S.C. § 200bb-

1(b).

        50. Strict scrutiny requires that, before imposing a substantial burden on a person’s

exercise of religion, the government must demonstrate that application of the burden to the

person (1) is in furtherance of a compelling governmental interest; and (2) is the least restrictive

means of furthering that compelling governmental interest. 42 U.S.C. § 200bb-1(b).

        51. The Mandates fail strict scrutiny, both as applied to the Plaintiff Officer and facially,

as Defendants have interpreted them to disallow religious accommodation, particularly to those

service members not seeking to separate from the Air Force.

        52. Defendants must establish that they have a compelling governmental interest in

denying a religious accommodation to Plaintiff Officer in particular. Defendants do not have a

compelling governmental interest in requiring Plaintiff to receive a COVID-19 vaccine.

        53. Defendants may not rely on generalized or broadly formulated interests to justify



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requiring Plaintiff or any service member to receive the COVID-19 vaccine in violation sincerely

held religious beliefs. With rare exception under circumstances unknow, the Air Force has de

facto adopted a policy that denies all requests for accommodations based on sincerely held

religious beliefs.

        54. RFRA requires that Defendants grant religious accommodation in every case where

denying one does not pass strict scrutiny.

        55. To enforce a law without any religious accommodations, Defendants must

establish that denying every possible religious accommodation passes strict scrutiny.

        56. Defendants cannot establish a compelling interest in denying every religious

accommodation to the Mandates.

        57. There can be no compelling interest justifying substantially burdening religious

practice when a government measure leaves appreciable damage to that supposedly vital interest

unprohibited.

        58. Defendants have granted thousands of accommodations for medical and

administrative reasons.

        59. Allowance of accommodations for reasons other than religious ones demonstrates

that Defendants can tolerate the risk posed by some service members remaining unvaccinated.

        60. Defendants’ delay in imposing the Mandates also belies any claim that the

interest in enforcing them is compelling.

        61. The Mandates were issued months after vaccines became available and months

after the Department of Justice formally advised that government entities could impose

mandatory vaccination requirements. U.S. Dep’t of Justice, Office of Legal Counsel, “Whether

Section 564 of the Food, Drug, and Cosmetic Act Prohibits Entities from Requiring the Use of a



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Vaccine Subject to an Emergency Use Authorization,” July 6, 2021 (slip op.),

https://www.justice.gov/olc/file/1415446/download.

       62. In the months since vaccinations were introduced, risk of transmission among

service members have greatly decreased due to voluntary vaccination and infection rates. Any

compelling interest in mandating vaccination has decreased accordingly.

       63. Defendants have not and cannot establish a compelling interest in a military or

Air Force-wide policy of denying religious accommodations to the Mandates, because the RFRA

requires that Defendants show a compelling interest to refuse each individual’s accommodation

in particular, and because Defendants delayed the Mandates for months and then granted

accommodations for other reasons.

       64. The least-restrictive-means standard is exceptionally demanding in that it requires

the government to show it lacks other means of achieving its desired goal.

       65. So long as the government can achieve its interests in a manner that does not

burden religion, it must do so.

       66. This standard requires Defendants to show that measures less restrictive of the

First Amendment activity could not address its interest in reducing the spread of COVID.

       67. Requiring Plaintiff Officer to be vaccinated notwithstanding sincerely held religious

beliefs is not the least restrictive means Defendants could have employed to serve any

compelling interest.

       68. Plaintiff Officer has worked successfully for the Air Force, including overseas

deployment, fulfilling job responsibilities completely, throughout the pandemic, including while

vaccines have been available.

       69. Defendants’ denial of Plaintiff Officer’s religious accommodation provides no



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explanation of why Plaintiff cannot continue to fulfill their duties in many of the ways and

mitigation measures implemented during the height of the pandemic.

       70. Defendants have not shown that accommodating Plaintiff Officer remaining

unvaccinated would increase their costs in any degree, given the continued presence of medically

accommodated unvaccinated service members and the exemption for clinical-trial participants.

       71. Approximately 200,000 civilians work for the Air Force. The Air Force has no data

on the number of Air Force civilians who are vaccinated. Yet these civilian Air Force employees

continue to work alongside their uniformed teammates.

       72. In the Plaintiff Officer’s workspace, no mitigation measures, such as mask wearing,

body temperature checks, social distancing, screening and COVID-19 testing of the

unvaccinated, are followed.

       73. Defendants have not shown that accommodating Plaintiff Officer remaining

unvaccinated would increase their costs in any degree, given the continued presence of medically

accommodated unvaccinated service members and the exemption for clinical-trial participants.

       74. Accommodations have little or no marginal cost, mandating that Plaintiff Officer be

vaccinated cannot be the least restrictive means of preventing the spread of COVID-19.

       75. Defendants, through the Mandates and systemic denial of requests for religious

accommodations, have advocated that universal vaccination—except for medical and

administrative accommodation and exemption for clinical trial participation—is the least

restrictive way of pursuing their interests. That requires demonstrating why other paths to the

same goal are inferior, which Defendants cannot do – particularly since vaccinated service

members have tested positive for COVID-19, and the lack of adherence to mitigation measures

in Plaintiff Officer’s workspace.



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        76. The denial of all service members’ religious accommodations is not the least

restrictive means to serve Defendants’ interests.

        77. The almost universal denial of religious accommodations invites the nearly

simultaneous separation of thousands of service members including more than 4,000 service

members from the Air Force alone and suggests an impermissible hostility to religion. The effect

on retention and recruitment is staggering.

        78. In denying Plaintiff Officer’s religious accommodation, Defendants claimed to be

serving the interests of “military readiness, unit cohesion, good order, and discipline.” These are

not sufficiently compelling interests to satisfy strict scrutiny.

        79. To survive strict scrutiny, Defendants must show that separating thousands of

religious objectors from the military, with concomitant loss of trained personnel and enormous

administrative burden, better serves Defendants’ interests than accommodating these same

service members as unvaccinated service members.

        80. Defendants’ policy of denying religious accommodation requests no matter the

circumstances is vastly out of step with policies in the rest of the country, including in the

countless workplaces across the country that currently provide religious accommodations

without any evidence of causing harm.

        81. Defendants cannot establish that the Mandates are the least restrictive means of

pursuing a compelling interest.

        WHEREFORE, Defendants’ vaccine mandates violate Plaintiff Officer’s rights and the

rights of fellow service members under RFRA.




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               A. Because of Defendants’ policy and actions, Plaintiff Officer has suffered

               irreparable harm and has suffered and/or will suffer economic injury. Plaintiff is

               entitled to an award of monetary damages and equitable relief.

               B. Plaintiff Officer is entitled to a declaration that Defendants violated Plaintiff

               Officer’s rights under RFRA to the free exercise of religion and an order

               restraining and enjoining Defendants from denying Plaintiff Officer’s requests for

               religious accommodation, from forcing Plaintiff Officer to separate from the

               military, and from taking any other adverse action against Plaintiff, based on

               Plaintiff Officer’s unvaccinated status.

               C. Plaintiff Officer is entitled to damages in the amount to be determined by the

               evidence and this Court and the reasonable costs of this lawsuit, including

               reasonable attorneys’ fees.

                                        COUNT TWO
                Violation of the Free Exercise Clause of the First Amendment
                                     U.S. Const. amend. I

       82. Plaintiff Officer incorporates herein by reference the assertions set forth in all

paragraphs of this Complaint.

       83. Plaintiff Officer sincerely believes that the exercise of their religion prohibits

submitting to an injection of any vaccines.

       84. Defendants acknowledges the sincerity of Plaintiff Officer’s belief and that the

exercise of religious beliefs prevents Plaintiff Officer from receiving vaccinations.

       85. Thousands of service members share Plaintiff Officer’s religious objection to being

vaccinated.

       86. The government and reviewing courts may not question whether sincerely held



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religious beliefs are reasonable.

        87. The First Amendment’s Free Exercise Clause prohibits the government from

enacting laws burdening religious exercise that are not both neutral and generally applicable,

unless they are narrowly tailored to a compelling a governmental interest.

        88. A law that is not neutral or not generally applicable and burdens religious exercise

must satisfy strict scrutiny.

        89. The Mandates are not generally applicable.

        90. A law is not generally applicable if it prohibits religious conduct while permitting

secular conduct that undermines the government’s asserted interests in a similar way.

        91. The Mandates allow service members to remain unvaccinated for medical and

administrative reasons or if they participate in a clinical trial while disallowing service members

from refraining for religious reasons.

        92. Even assuming Plaintiff Officer poses a risk, any risk posed would be no greater than

the risk posed by other accommodated personnel.

        93. Since Defendants accept a risk from people who are unvaccinated for secular

reasons but not from people with religious reasons, the Mandates are not generally applicable.

        94. Where a law includes a system of individualized accommodations based on

particular circumstances, the government may not refuse to grant accommodations on the basis

of religious hardship.

        95. The Mandates invite service members to apply for accommodations from the

vaccine mandate on the basis of several individualized situations, including religious belief.

        96. Defendants have shown that accommodations based on medical and

administrative circumstances and exemptions for clinical-trial participation are available, but



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they intend to deny applications for religious accommodations based on sincerely held religious

beliefs.

           97. Defendants have granted thousands of medical accommodations and thousands of

administrative accommodations.

           98. Defendants have granted minimal religious accommodations at a percentage that is

tantamount to blanket denial.

           99. A mandate to which commanding officers grant accommodations for other

reasons but not on the basis of religious belief is not generally applicable.

           100. A law that is not neutral or not generally applicable and burdens religious exercise

must satisfy strict scrutiny.

           101. The Mandates fail strict scrutiny, both as applied to Plaintiff Officer and as applied

to other service members who have sought religious accommodations based upon sincerely held

religious beliefs.

           102. Defendants may not rely on generalized or broadly formulated interests to justify

requiring Plaintiff Officer or any service member to receive the COVID-19 vaccine or any other

vaccine in violation of sincerely held religious beliefs.

           103. Defendants must establish that they have a compelling governmental interest in

denying an accommodation to Plaintiff Officer in particular.

           104. Defendants do not have a compelling governmental interest in requiring Plaintiff

Officer to receive a vaccine.

           105. Defendants’ October 2021 and December 2021 letters denying Plaintiff Officer a

religious accommodation to the Mandates cited only generalized interests, present in every case,

of “military readiness, unit cohesion, good order, and discipline.”



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        106. The October 2021 and December 2021 letters offer no consideration of Plaintiff

Officer’s particular circumstances. This is insufficient to establish a compelling governmental

interest in requiring Plaintiff to receive a vaccine.

        107. Plaintiff Officer has been deployed and fulfilled all responsibilities as an Air Force

Officer, before and during the pandemic, without jeopardizing the mission, putting others at risk,

or getting sick, all the while being unvaccinated.

        108. Defendants cannot rely on generalized statements of interest to justify denying

Plaintiff Officer an accommodation, and they can identify nothing to support a compelling

interest in denying Plaintiff Officer in particular an accommodation.

        109. Defendants cannot establish a compelling interest in denying effectively all religious

accommodations to the Mandates.

        110. Defendants have granted thousands of accommodations to the Mandates for

administrative and medical reasons.

        111. Allowance of exceptions for other reasons demonstrates that Defendants can

tolerate the risk posed by some service members remaining unvaccinated for secular reasons.

        112. Defendants cannot simultaneously claim they have a compelling interest in denying

the same accommodation, the only difference is that the accommodation is being sought because

of sincerely held religious beliefs.

        113. Defendants’ delay in imposing the Mandates also belies any claim that the interest in

their enforcement is compelling.

        114. The Mandates were issued months after vaccines became available and months

after the Department of Justice formally advised that government entities could impose

mandatory vaccination requirements. U.S. Dep’t of Justice, Office of Legal Counsel, “Whether



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Section 564 of the Food, Drug, and Cosmetic Act Prohibits Entities from Requiring the Use of a

Vaccine Subject to an Emergency Use Authorization,” July 6, 2021 (slip op.),

https://www.justice.gov/olc/file/1415446/download.

       115. In the months since vaccinations were introduced, risk of transmission among

service members have greatly decreased due to voluntary vaccination and infection rates. Any

compelling interest in mandating vaccination has decreased significantly.

       116. Defendants have not and cannot establish a compelling interest in a military or

Air Force-wide policy of denying religious accommodations to the Mandates, because delaying

the Mandates for months and granting accommodations for secular, but not religious, reasons

both demonstrate that the Mandates do not serve a truly compelling governmental interest.

       117. The least-restrictive-means standard is exceptionally demanding in that it requires

the government to show it lacks other means of achieving its desired goal.

       118. So long as the government can achieve its interests in a manner that does not

burden religion, it must do so.

       119. This standard requires Defendants to show that measures less restrictive of the

First Amendment activity could not address its interest in reducing the spread of COVID-19.

       120. Requiring Plaintiff Officer to be vaccinated is not the least restrictive means

Defendants could have employed to serve any compelling interest.

       121. Plaintiff Officer has worked for the Air Force diligently, executing responsibilities

completely, throughout the pandemic and before, including while vaccines have been available.

       122. Defendants’ denial of Plaintiff Officer’s religious accommodation provides no

explanation of why Plaintiff Officer cannot continue to fulfill all duties in many of the ways

implemented during the height of the pandemic.



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        123. Defendants do not and cannot explain why Plaintiff Officer’s work cannot be

accommodated with the use of distancing measures, masking, hygiene requirements, and regular

testing, while those with medical and administrative accommodations and clinical-trial

participants are permitted to work with such measures in place.

        124. In fact, at present, no mitigation measures are required at Plaintiff Officers assigned

work area.

        125. Defendants have not shown that accommodating Plaintiff Officer remaining

unvaccinated would increase their costs in any degree, given the allowance for medical and

administrative accommodations and exemptions for clinical-trial participants.

        126. If accommodations have little or no marginal cost, mandating that Plaintiff Officer

be vaccinated cannot be the least restrictive means of preventing the spread of COVID-19 or any

other virus.

        127. At the very least, Defendants have an obligation to demonstrate why universal

vaccination, excepting medical and administrative accommodation and exemption for clinical

trials participation, and denying accommodations for sincerely held religious beliefs, is the least

restrictive way of pursuing their interests. That requires demonstrating why other paths to the

same goal are inferior, which Defendants cannot do.

        128. Wholesale denial of religious accommodations invites the nearly simultaneous

separation of thousands of service members including more than 4,000 service members from the

Air Force alone and suggests an impermissible hostility to religion.

        129. In denying Plaintiff Officer’s religious accommodation, Defendants claimed to be

serving the interests of “military readiness, unit cohesion, good order, and discipline.” These are

not sufficiently compelling interests to satisfy strict scrutiny.



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       130. To survive strict scrutiny, Defendants must show that separating the thousands of

Warfighters who have sincerely held religious beliefs against introduction of vaccines into their

corpus, from the military, with concomitant loss of trained personnel and enormous

administrative burden, better serves the military’s interests than accommodating these same

service members as unvaccinated service members.

       131. Accommodating Plaintiff Officer’s continued service has little or no marginal

financial cost or operational impediment to Defendants.

       132. A blanket policy of denying religious accommodations and ending the careers of

thousands of service members, including more than 4,000 Air Force service members alone,

cannot credibly be described as the least restrictive means of serving the interests Defendants

have identified.

       133. To identify whether Defendants have employed the least restrictive means, courts

look to whether other jurisdictions have addressed the same interests in less restrictive ways.

       134. Defendants’ policy of wholesale denial of religious accommodation requests no

matter the circumstances is vastly out of step with policies in the rest of the country, including in

the countless workplaces across the country that currently provide religious accommodations

without any evidence of the accommodation causing harm.

       135. Defendants cannot establish that the Mandates are the least restrictive means of

pursuing a compelling interest.

       WHEREFORE Defendants’ vaccine mandates violate Plaintiff Officer’s rights and the

rights of fellow service members under the First Amendment to the United States Constitution.




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               A. Because of Defendants’ policy and actions, Plaintiff Officer has suffered

               irreparable harm and has suffered and/or will suffer economic injury. Plaintiff is

               entitled to an award of monetary damages and equitable relief.

               B. Plaintiff Officer is entitled to a declaration that Defendants violated Plaintiff

               Officer’s rights under the First Amendment to the free exercise of religion and an

               order restraining and enjoining Defendants from denying Plaintiff Officer’s

               requests for religious accommodation, from forcing Plaintiff Officer to retire or

               separate from the military, removal from the promotion list and from taking any

               other adverse action against Plaintiff Officer based on being unvaccinated due to

               sincerely held religious beliefs.

               C. Additionally, Plaintiff Officer is entitled to damages in the amount to be

               determined by the evidence and this Court.

                               THIRD CAUSE OF ACTION
           Violation of the Administrative Procedure Act, 5 U.S.C. §§ 551, 701-06

       136. Plaintiff Officer incorporates herein by reference the assertions set forth in all

paragraphs of this Complaint.

       137. Under the Administrative Procedure Act (“APA”), a court shall “hold unlawful

and set aside” any agency action that is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law” or “without observance of procedure required by law.” 5

U.S.C. § 706(2)(A), (D).

       138. The Department of Defense and the branches of the military, including the Air

Force, Navy, Army, and Marines are “agencies” under the APA. 5 U.S.C. § 551(1).

       139. The Mandates are each a “rule” under the APA reviewable under the APA. 5

U.S.C. § 551(4).

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          140. Defendants’ wrongful actions are “agency actions” reviewable under the APA. 5

U.S.C. §§ 551(13), 704.

          141. The Court should hold unlawful and set aside the Mandates, because they are

arbitrary, capricious, an abuse of discretion, otherwise not in accordance with law, and without

observance of procedure required by law.

          142. Defendants have violated Plaintiff Officer’s rights under the APA.

          WHEREFORE, Defendants’ vaccine mandates violate the APA.

                 A. Because of Defendants’ policy and actions, Plaintiff Officer has suffered

                 irreparable harm and has suffered and/or will suffer economic injury. Plaintiff

                 Officer is entitled to an award of monetary damages and equitable relief.

                 B. Plaintiff Officer is entitled to damages in the amount to be determined by the

                 evidence and this Court and the reasonable costs of this lawsuit, including

                 reasonable attorneys’ fees.

                                         COUNT FOUR
                                           Retaliation
          Violation of the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb et seq

          144. Plaintiff Officer incorporates herein by reference the assertions set forth in all

paragraphs of this Complaint.

          145. On April 7, 2022, defendant Rudolf Wilhelm Kuehne submitted a record of

Promotion Propriety Action, removing Plaintiff Officer from the promotion list.

          146. Defendant Rudolf Wilhelm Kuehne took this action solely because Plaintiff Officer

persisted in his claim and pursuit for an accommodation based upon a sincerely held religious

belief.




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       147. Defendant Rudolf Wilhelm Kuehne is the commanding officer that denied Plaintiff

Officer’s request for a religious accommodation to remain unvaccinated. In response to Plaintiff

Officer adhering to their religious beliefs after denial of an accommodation by Defendants,

defendant Rudolf Wilhelm Kuehne took retaliatory action against the Plaintiff Officer.

       148. At the time of the retaliation, Defendants were aware of that least two federal district

courts had issued preliminary injunctions enjoining the Air Force from taking any action against

service members based on their vaccine refusal after Defendants denied their request for an

accommodation based upon sincerely held religious beliefs.

       WHEREFORE, Defendants’ removal of Plaintiff Officer from the promotion list

constitutes retaliation under the Religious Freedom Restoration Act.

               A. Because of Defendants’ retaliatory actions, Plaintiff Officer has suffered

               irreparable harm and has suffered and/or will suffer economic injury. Plaintiff

               Officer is entitled to an award of monetary damages and equitable relief.

               B. Plaintiff Officer is entitled to a declaration that Defendants violated Plaintiff

               Officer’s rights under the RFRA to the free exercise of religion, and the right to

               pursue claims of discrimination without fear of retaliation, and an order

               restraining and enjoining Defendants from denying Plaintiff Officer’s earned

               promotion and from taking any other adverse action against Plaintiff Officer,

               based on Plaintiff Officer’s unvaccinated status and pursuit of a religious

               accommodation.

               C. Plaintiff Officer is entitled to damages in the amount to be determined by the

               evidence and this Court and the reasonable costs of this lawsuit, including

               reasonable attorneys’ fees.



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                                       COUNT FIVE
                    (Equal Protection & Due Process — Fifth Amendment)

       149. Plaintiff Officer incorporates herein by reference the assertions set forth in all

paragraphs of this Complaint.

       150. Defendants’ adverse treatment of Plaintiff Officer’s request for religious

accommodation, deprives the Plaintiff Officer’s right to equal protection of the law and due

process as guaranteed under the Fifth Amendment of the United States Constitution.

       151. The Defendants process for determining whether to grant a religious accommodation

for a sincerely held religious belief is both procedurally and substantively flawed, resulting in a

denial of rights and privileges protected under the Fifth Amendment.

       152. The Defendants advertise that Plaintiff Officer’s request for a religious

accommodation was individually reviewed by Religious Resolution Teams (“RRT”) at the wing,

garrison, major command and field command levels, made up of chaplains, medical providers,

judge advocates, and other subject matter experts. The RRT allegedly made a recommendation

on determining the least restrictive means possible to accommodate a sincerely held belief

without putting mission accomplishment at risk. None of these recommendations were made

known to the Plaintiff Officer.

       153. Under Secretary of the Air Force Gina Ortiz Jones stated on December 22, 2021,

that “Each member’s request is carefully considered to balance the government’s compelling

interest in mission accomplishment with the service member’s sincerely held belief,” said.

“Although the chaplain may advise the member’s belief is sincere, MAJCOM and FLDCOM

commanders have to balance that member’s interests against the overall impact on operational

readiness, health and safety of members and good order and discipline within the unit.”




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       154. On December 22, 2021, the Defendants further stated, “Based on the number of

disapproved accommodation requests at this point, Airmen and Guardians are encouraged to

consider that operational requirements could result in requests for religious accommodations

being denied.”

       155. Plaintiff Officer was not provided with a record of the review, nor the opinions and

identities of the chaplains, medical providers, judge advocates, and “other subject matter

experts” that reviewed his request for a religious accommodation.

       156. The RRT process for reviewing and making recommendations with respect to

requests for religious accommodations based on sincerely held religious beliefs does not meet

constitutional standards as it fails to be conducted in an impartial manner. Plaintiff Officer did

not have the right to present evidence and argument orally or the chance to examine all materials

that would be relied on or to confront and cross-examine adverse witnesses, nor was the

recommendation limited to the record made and explained in an opinion.

       WHEREFORE, Defendants’ process for determining whether to grant religious

accommodations for sincerely held religious beliefs fails to meet constitutional requirements

                 A. Because of Defendants’ unconstitutional process, Plaintiff Officer has suffered

                 irreparable harm and has suffered and/or will suffer economic injury. Plaintiff

                 Officer is entitled to an award of monetary damages and equitable relief.

                 B. Plaintiff Officer is entitled to a declaration that Defendants violated Plaintiff

                 Officer’s rights under the Fifth Amendment to the United States Constitution and

                 an order restraining and enjoining Defendants from denying Plaintiff Officer’s

                 earned promotion and from taking any other adverse action (other than

                 deployment, assignment, and other operational decisions as was determined by



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               the United States Supreme Court grant of a partial stay in the case of Austin v.

               U.S. Navy Seals 1-26) against Plaintiff Officer, based on Plaintiff Officer’s

               unvaccinated status and pursuit of a religious accommodation based upon a

               sincerely held religious belief.

               C. Plaintiff Officer is entitled to damages in the amount to be determined by the

               evidence and this Court and the reasonable costs of this lawsuit, including

               reasonable attorneys’ fees.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendants and provide Plaintiff Officer with the following relief:

1. a declaratory judgment that the vaccine mandates violate Plaintiff’s rights under the First

Amendment to the United States Constitution.

2. a declaratory judgment that the vaccine mandates violate Plaintiff’s rights under the Religious

Freedom Restoration Act.

3. a temporary restraining order, preliminary injunction, and permanent injunction

prohibiting Defendants, their agents, officials, servants, employees, and any other

persons acting in concert with them from enforcing the vaccine mandates challenged in this

Complaint and directing such other and further relief as requested in the motion for

temporary restraining order and preliminary injunction filed concurrently herewith.

4. an order declaring unlawful and setting aside the vaccine mandates challenged in this

Complaint.




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                                          Respectfully submitted,


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